Case 1:03-cv-01012-.]DT-STA Document 153 Filed 07/22/05 Page 1 of 4 Page|D 165

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE
EASTERN DIVISION

 

JOHN CONNELL
AND
LUCY CONNELL,

 

Plaintiffs,

v. CIVIL ACTION NO. 1-03-1012-T

WEBB REALTY, INCORPORATED;

JULE NANCE; BILLY N. WEBB, JR.;

ANNA WEBB; JAMES N. MAYS;

KAY W. MAYS; and DIANNE MOORE,
I)efendants.

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ORDER

 

On the Motion of Plaintiffs for an Order to approve Plaintiffs John Connell and Lucy
Connell’S Motion for Extension ofTime to Respond to Defendants Bil]y N. Webb, Jr.; Anna Wehb;
Jule Nance; and Webb Realty’S Motion for Attorney Fees pursuant to Local Rule 7.1(a) to August
29, 2005 , and good cause for Plaintiffs’ Motion for Extension of Tirne to Respond in Mernorandurn
having been Shown', therefore,

IT IS ORDERED that the Motion be granted and that the time Within Which Plaintiffs may
tile Response to Defendants Billy N. Webb, Jr.; Anna Webb', JuIe Nance; and Webb Realty’S
Motion for Attorney Fees is extended and enlarged to August 29, 2005.

Dated this the _ZWV Day of July, 2005.

Q@/)MA\M

JAMES|%TODD
uNirE rArES DISTRICT JUDGE

This document entered on the docket sheet ¥n compliance
with Ru|e 58 and,’or_79 (a} FF|CF' on

Case 1:03-cv-01012-.]DT-STA Document 153 Filed 07/22/05 Page 2 of 4 Page|D 166

APPROVED FOR ENTRY:

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CERTIFICATE OF SERVICE

The undersigned hereby certifies that a true and exact copy of the above document has been
served upon the Defendant Dianne Moore, by hand delivery of same to the attorney for Defendant
Dianne Moore, Jennifer Craig, Waldrop & l-lall, 106 S. Liberty Street, Jackson, Tennessee 38301;
by hand delivery of same to the attorney for Defendants Webb Realty Company L.L.C., Billy N.
Webb, Jr., Anna Webb, and Jule Nance, Da]e Conder, 209 East Main Street, P.O. Box 1147,
Jackson, Tennessee 38302-1 147', and by hand delivery of same to the attorney for Defendants lames
N. Mays and Kay W. Mays, Brandon O. Gibson, Pentecost, Glenn & Rudd, PLLC, 106 Stonebrid ge

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ring theQ'/§l Day 0fJu1y,2005.

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Notice of Distribution

This notice confirms a copy of the document docketed as number 153 in
case 1:03-CV-01012 Was distributed by faX, mail, or direct printing on
July 26, 2005 to the parties listed.

 

 

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